 

 

 

 

    

 

 

 

 

 

4/46/2006 Carranza-Reyes, Molses, Vol. 1 +/16/2006 Carranza-Reyes, Molses, Vol. 4
ooor 1 INDEX
1 IN THE UNITED STATES DISTRICT COURT 2 EXAMINATION OF MOLSES CARRANZA-REYES: PAGE
FOR THE DISTRICT OF COLORADO C
Volume 1
2
Case No, 2005-WH-377 (BNB) 3 Jantary 16, 2006
3 4 By Mr. Kotdick --
4 DEPOSITION OF: MOISES CARRANZA-REYES, Volume f
° ' 5 By Mr. Archuleta -~
January 16 AND 17, 2006
5 6 By Mr. Ringel 6
6 MOISES CARRANZA-REYES, 7 By Hs. Lewis 7
7 Plaintiff & By Mr, Sargent --
& ve
9 PARK COUNTY, a public entity of the State of Colorado °
and its governing board, THE PARK COUNTY BOARD OF INITIAL
10 COUNTY COMMISSIONERS; PARK COUNTY SHERIFF'S GFFICE, a 10 DEPOSITION EXHIBITS REFERENCE
public entity of the State of Colorado; FRED 'EGENER, 13 lai \ le 26 i ised i
tl individually and in his official capacity as Sheriff of 1h Plaintiff's Rule 26a} {i} Disclosures
Park County, Colorado; MONTE GORE, individually and in 12 14 Plaintiff's Responses to the First Set of 34
12 his capacity as Captain of Park County Sheriff's Interrogatories and Requests for Production
Department; VICKIF PAULSEN, individually and in her
. oa . . 13 of Documents from Defendants Park County,
13 official capacity as Registered Nurse for Park County
Colorado; JAMES BACHMAN, M.b., individually and in his the Park County Board of County Comaissioners,
14 Official capacity as Medical Director of the Park lq the Park County Commissioners, the Park
County dail, County Sheriff's Office, Fred Wegener, and
la
Defendants, 15 Monte Gore
16 16 15 Order to Letain or Release Alions 123
1? 16 Park County Jail Reporte Para £1 Doctor 126
17
225
18 TAKEN PURSUANT TO NOTICE on behalf of the Defendant 18 17 Form eas
Park Counry at 1125 17th Street, Suite 600, benver, 19 18 Letter from Bon, Willer 4 Gailcher 227
1g Colorado §dz2 at 9:09 a.m. before Laura L, Corning, 20 1% Records release authorization 230
Federal Certified Realtime Reporter, Certified :
aa 21 {Attached to Original anch copy transecri }
24 Shorthand Reporter and Motary Public within Colorace,
2i 22
22 23
PS 24
24q
25 28
1 3
16/2006 Garranza-Reyes, Molses, Vol. 4 1/16/2006 Carranza-Royes, Moises, Vol. 1
1 APPEARANCES 1 WHEREUPOM, the within proceedings were
2 For the Plaintiff: LLOYD €. KORNICK, ESQ.
$65 South Cascade 2 taken pursuant to the Federal Rules of Civil
3 Colorado Springs, Colorade 80903
P os . 3 Procedure:
q JOSEPH J. ARCHULETA, Hoa.
Law Office of Joseph Archuleta 4 {At this time Ms. Beaver was not present in |
§ 1724 Ggden Street :
benver, Colorado #0128 5 the deposition room.
é é HR, KORDICK: For the recerd --
For the Defendants ANDREW D. RINGEL, ESQ.
7 Park County, Park Hall & Evans, LLC ? MR. SARGENT: Wait jusk a second. I just
. ag vo ake
County Board of 1125 17th Streak a want to meet some people.
a Commissioners, Park Suite 600
County Sheriff's Denver, Colorado 80202-2037 3 MR. KORDICK: T'm going to intraduce you.
a Office, Wegener
Meg ‘ 10 MS. LEWIS: Okay.
Gore:
OQ il MR. KORDECK; For the record, TF'va asked
For Lhe Defendant MELANIE B. LEWIS, ESO,
: 2 sO S Y r 2 é
iy Paulsen: Berg Hill Greenleaf 12 Joe Gonzales, who is a translator, to be present to
6 Ruscitti LLP 13 observe the procedures for at least a portion of the
Le 1712 Pearl Street
Bouider, Colorado 80302 14 time and be availabie if we need Lo consult with our
3 is client sometime during the deposition. And I've asked
For the Defendant CRAIG SARGENT, ESO.
14 Bachman: Johnson MeConaty & Sargent, P.C. 16 my client, because of translation issues i've had in
400 South Colorado Boujevard : .
. i? other cases unrelated to this -- IT had a case where I
1S Suite 900
Glandale, Colorado 80246 18 had a Puerto Rican ¢iient who didn't speak English, and
16
5 ft tr 1° ram Pe and ik burn
Also Present: Jack G. Mudry, Interpreter 14 the translator was from Peru, and ik turned out they
iy Jose WH. Gonzalez 20 could not understand each other for some reason, ahd it
Jackie Deaver
18 21 was a very difficwit siluation.
i 22 So I've tried to simplify it by telling
uo
22 25 my client to li question carefully and to
ze
24 answer slowly so that the translator can translate
24 25 contemporaneousiy with nis answer.
ar
,
2 Pauisen’s A-16 4

 
Case 1:05-cv-00377-WDM-BNB Document 167-1

1/17/2006 Carranza-Reyes, Yotume Il, Moises

spitting up saliva, but it was like -- it was something
in there that I covldna't get out.

a. Did anything else happen that night in terms
of your symptoms?

A. My brother was there to keep an eye on me,

and he says that he thought that I had a fever and so

Filed 02/15/07 USDC Colorado Page 2 of 3

4417/2006 Garranza-Reyes, Volume Il, Molses

shouting out. They were shouting out, "There's people
upstairs" and "Let's go." They were saying that in
Spanish. 1 don't know if she understood that or not, but
she never went in. But I did hear when she was Lhere,
and I even saw her.

a. Did you hear anybody speaking te her in

n

“1

 

bhat -- and my lips leoked very dry. English on that morning?
QO, Did you receiva any other medication that BR. Yeah, there were people that were speaking
night? to her in English. I don't know if it was good English.
A No. No, sir. My friend that was interpreting for me was there. He was
Oo, De you recall anything elise about that night 11 always there.
following the day that you first saw the nurse that tle 12 Q. But you couidn't understand the Enghish to
haven't talked about? 13 know what they were saying to her in English; isn't that ES
A No, I dan't remember. 14 truc?
G. Let's balk about the next day, the day after 15 AY Tre.
the day you first saw the nurse, all right? 1é a. Anything else abouk that visit by the nurse
Re Yes. 1? to the cell the day after you first saw her that you
QO. What happened that morning then you woke up? 18 recall that we haven't taiked about?
A, T woke up, and she had already oc Tt 1s A, I don't remember
was like she didm't even have the intention of waiting 2a Q. Did anything elise happen to you in terms af
for me, like ! couldn't: even walk mere quickly. él your symptoms or condition thaf morning, the day after
ue I don't understand. You were asleep BE YOu ! the nurse fox the first time?

   

e of hours

   

Lhe

   

chan F Ba slated to gent vworss and started to

vomiting, and there were others that were doing the

 

a. Correct. The day after the firsk day you

273 278

1417/2006 Carranza-Reyes, Volume Il, Moises 4117/2006 Carranza-Reyos, Volume i, Molses

 

 

     

  

saw the nurse. i but I don't know why Ehey noticed) me more, Maybe it was
B. Yeah, f was laying down, I couldn*t get 2 more an cxaqgerated vomiting of mine,
down, though. =f didn't have the strength. My brother 3 Q. Where were you vomiting?
helped me stand up iater. 4 A, Downstairs. It was wherever I was, I mean
QO. Okay. At the Lime that the nurse came by, 5 I was at the Lables or I was upstairs or it would happen
was that the time the nurse would come by in the morning 6 to me, 1 would start to feel nauseous, and my brother
to deliver medicine? 7 toould try and help me get to the bathroom and ,
A. Yes. 3 Q. Did you ever vomit somewhere other than in
Q. And you didn't have Ehe opportunity te % the toilet?
commtnicake with the nurse on thak morning. Am 1 id A. Yes.
correct? it Q. where?
As Fo didn't have the oppertunity, but the 12 AY On the ground. Normaliiy, everybody was
people were talling her that there were sick people 13 doing it on the floor, on the ground,
upstairs, I den‘t recall if my brother told her that 14 Q. Did the vomil just stay there, or was
too, but she didn'k come up. She didn't come inte the 15 anybody cleaning if up?
cell. She didn't see anybody upstairs. 16 A. You had to clean it up with a piece af
q. You Were upstairs at the time she came Lo la paper, and then you would Lhrow if over fo one side or
the cell door; is that correct? 15 throw if aut,
BA, Yes. lg OQ. Okay. How many people wouici you estimate
0. And given where you were upstairs, it was 20 that day were vomiting in addition to yourself?
nol possible for you to hear any conversation between the 21 AY t'd say there was an average of -- oh, if
nures and anyone at. Lhe call door. Is 22 there were Sf or 6@ of us thers alteygether, there were Fi
A. The coor was hare, and the people would come ES of us vamiting. The place was a place that just would
up and gather areund, and they were shouting because it 4 make you sick, the way the bathroom was and how dirty i
was a small place, and they were inside. They were 23 was. They onty wanted te give us water to clean things

274 276

 
Case 1:05-cv-00377-WDM-BNB Document 167-1 Filed 02/15/07 USDC Colorado Page 3 of 3

14712006 Carranza-Reyos, Volume Il, Moises

 

1 COFFMAN REPORTING & LITIGATION SUPPORT, INC, 1440 Blake Street, Suite 320
2 Denver, Colorado 80202 303.893.0202 rc
3

4 January 31, 2006

5

6 LLOYD C. KORDICK, ESQ. 805 South Cascade

7 Colorado Springs, Colorado 80503

8 Re: Carranza~Reyes v. Park County, et al.

9 Deposition of: MOISES CARRAN¢A-REYES, VOLUME II Date of Deposition: January i7, 2006

1a Trial Date: None set

11 Dear Hr. Kordick:

12 Enclosed is the original signature page of the above

13 deposition. It was agreed you would arrange for the witness's signature with your copy of the transcript,
14 Amendment sheets are included. After the signature page

15 and amendment sheets are signed, please have both notarized and return for filing to .

16 this office within 39 days pursuant

i? to Rule 30,

18 hank you for your prompl aktention to this matter.

1¢ Sincerely,

20 COFFMAN REPORTING

2h cet Attending counsel

 

 

 

349

1417/2006 Carranza-Reyes, Volume lt, Moises
\ COFFMAN REPORTING & LITIGATION SUPPORT, INC. 1444 Blake Streel, Suite 320
? Penver, Colerada A120? 303,893 0202
3
4 ANDREW D. RINGEL, ESQ. Hall & Kvans, LLC _
& 1125 i7th Street Suite 600
6 benver, Colorada 80202
7 Re: Garranza-Reyes v, Park County, of al.
8 Deposition of: MOISES CARRANZA-REYES, VOLUME [I Date of Deposition: January 17, 7906
9 Trial Date: None set
10 Enclosed is:
11 { }) ORIGINAL TRANSCRLPT. Please retain unopened original unkii it is required by any party in a
12 trial or hearing in the ahove matter.
13 {  ) ORIGINAL SIGNATURE PAGE with — without corrections; copies provided to
id other counsel; please append these sealed originals to original transcript in your possession.
is { J Ne signakure or correction sheets received.
16 ( } Review of transeript not requested.
17 t } 30-day review unavailabie. Signature/correclien
18 pages forwarded £o counse] handling signature, Original filed in anticipation of trial date,
18 See Letter within deposition.
20 ( ! Copy of deposition, signature and correction pages sent to deponent. See letter within deposition.
2} { } Signature not applicable.
22 Original transcript £ on via_

   

   

Poliiow-up documentation

 

5 ee: dintending counsel

350

 
